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Attorneys for Defendants

                                UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO

 WESTERN WATERSHEDS PROJECT,
                                                 Case No. 04-CV-00181-BLW
                  Plaintiff,
                                                 NOTICE OF FILING OF ANNUAL
        v.                                       REPORT

 STEVEN ELLIS, Director, Idaho State Office,
 Bureau of Land Management, BRIAN
 DAVIS, Jarbidge Field Manager; BLM; and
 BUREAU OF LAND MANAGEMENT, an
 agency of the United States,

                  Defendants.


       Pursuant to the Court’s Order (ECF No. 505), the Bureau of Land Management (“BLM”)

files the 2017 Annual Report. A summary of activities for 2017 is contained in Exhibit 1 filed

herewith. The BLM’s summary of grazing that occurred during the 2017 grazing year is

described in a spreadsheet titled Exhibit 2 and filed herewith. The BLM’s summary of grazing

management planned for the 2018 grazing year is described in a spreadsheet titled Exhibit 3 and

filed herewith.



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       Respectfully submitted this 28th day of March, 2018.

                                                 BART M. DAVIS
                                                 UNITED STATES ATTORNEY
                                                 By:


                                                /s/ Christine G. England
                                                 CHRISTINE G. ENGLAND
                                                 Assistant United States Attorney


                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 28th, 2018, the NOTICE OF FILING OF

ANNUAL REPORT was electronically filed with the Clerk of the Court using the CM/ECF

system which sent a Notice of Electronic Filing to the following persons:

Laurence J. Lucas            llucas@lairdlucas.org
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       And, I hereby certify that the following listed non-registered CM/ECF participants were

served by:

               United States Mail, postage prepaid
               Federal Express
               Hand-delivery
               Facsimile transmission (fax)

       None

                                                           /s/ Jessica Black
                                                           Legal Assistant


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